   Case 5:24-cv-00768-JKP-HJB Document 8 Filed 09/03/24 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION                             SEP     3 2024
                                                                           CLERK, U S. DISTRICT COURT

                                                                              SjsNDTOTOTEXAS
MARK ANTHONY ORTEGA                                                                            D E F TY
                                                    Case No. SA-24-CV-768-JKP (HJB)
                               Plaintiff,

              V.



ELITE LIVING REALTY, LLC


                               Defendant.



             AFFIDAVIT IN SUPPORT OF CLERK'S ENTRY OF DEFAULT

       I hereby certify that I, Mark Anthony Ortega, am the Plaintiff in the above cause, and that

defendant Elite Living Realty, LLC was served on July 23, 2024 as evidenced by the Proof of

Service. (ECF No. 6)

       I further certify that the defendant has failed to serve an answer or other responsive

pleading; one extension of fourteen days was granted and has since expired; the defendant is

neither an infant (under age 21) nor an incompetent person; the defendant is not in the active

military service of the United States of America or its officers or agents or was not six months

prior to the filing of the case. Therefore, the Clerk is requested to enter a default against said

defendant.

       I declare under penalty of peijury under the laws of the United States of America that the

foregoing is true and conect
   Case 5:24-cv-00768-JKP-HJB Document 8 Filed 09/03/24 Page 2 of 4




Date: August    ,   2024

                                         Mark Anthony Ortega
                                         Plaintiff P o e


                                         By:
                                         mortegautexas.edu
                                         P0 Box 702099
                                         San Antonio, TX 78270
                                         Telephone: (210) 744-9663
   Case 5:24-cv-00768-JKP-HJB Document 8 Filed 09/03/24 Page 3 of 4




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



MARK ANTHONY ORTEGA
                                                     Case No. SA-24-CV-768-JKP (HJB)
                            Plaintiff,

              V.



ELITE LIVING REALTY, LLC


                            Defendant.


                               CLERK'S ENTRY OF DEFAULT

       The Plaintiff, Mark Anthony Ortega, having filed a Complaint (ECF No. 1) on July 5, 2024,

and the Defendant, Elite Living Realty, LLC, having failed to plead or otherwise defend as required

by the Federal Rules of Civil Procedure, and the time for responding having expired;

       IT IS ORDERED, that the Clerk enter the default of the Defendant, Elite Living Realty,

LLC.



                                                     By:
                                                           Clerk of Court
                                                                   rt-'s
                                                                   ',   L3QK7OZ0q'?
                                                                         k''
Case 5:24-cv-00768-JKP-HJB Document 8 Filed 09/03/24 Page 4 of 4




                                                                                      U.S. District Cterk's Office
                                                                                      262WestNuevaStreet, Room 1-400
                                                                                                                             SLLp
                                                                                      San Antonio, Texas 78207                                 I
                                                                                                                       -Lc
                                                                                                                                          op
                                                                                                                                    Uft            '4$
